On March 14, 1991, appellee, Terry Allen Loudenback, pleaded guilty to three counts of rape, one count in violation of R.C.2907.02(A)(2), and two counts in violation of R.C.2907.02(A)(1)(b). In a judgment entry filed on April 26, 1991, the Ashtabula County Court of Common Pleas sentenced appellant to an indefinite term of ten to twenty-five years on each count, the sentences to be served concurrently. The Ohio Department of Rehabilitation and Corrections sought to have appellee adjudicated a sexual predator pursuant to Ohio's version of Megan's Law, recently amended R.C. Chapter 2950. In a judgment entry filed on February 6, 1998, the trial court dismissed the sexual predator proceedings, holding that the sexual predator provisions of R.C. Chapter 2950 are unconstitutional. Appellant, the State of Ohio, timely appealed, asserting that R.C. Chapter 2950, as amended is constitutional.
Based on the precedent established by the majority of this court in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section 1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal.
Accordingly, the judgment of the trial court is affirmed.
                               ------------------------------ PRESIDING JUDGE DONALD R. FORD
NADER, J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.